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                             CERTIFICATE OF CONFERRAL


       I, Benjamin D. Webb, as counsel for the movant, Defendant, Michael Russin, hereby

certify that I have made good faith efforts to confer with the non-moving party to determine

whether she consents or opposes the foregoing Motion to Strike Plaintiff’s Brief in Support of

Motion for Contempt. At 11:23 a.m., on May 4, 2023, I sent counsel for the Plaintiff

correspondence via electronic mail requesting that she withdraw her improperly filed Brief by 4

p.m. on May 4, 2023. Counsel for Plaintiff has not responded.



Dated: May 4, 2023                                         s/Benjamin D. Webb
                                                           Benjamin D. Webb
